     Case 2:21-cv-01785-JAD-BNW Document 3 Filed 09/29/21 Page 1 of 1




 1

 2                                UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4                                                    ***
 5    Craig Anderson,                                        Case No. 2:21-cv-01785-JAD-BNW
 6                           Plaintiff,
                                                             Order
 7          v.
 8    L.V.P.D Metro Police Dept.,
 9                           Defendant.
10

11          Plaintiff submitted initiating documents to this Court on September 27, 2021. ECF No. 1.

12   Plaintiff did not pay the filing fee for this case or file an application to proceed in forma pauperis.

13          If Plaintiff is unable to pay the filing fee in this case, Plaintiff must complete an

14   application to proceed in forma pauperis under 28 U.S.C. § 1915(a)(1) and Local Special Rule

15   (“LSR”) 1-1. If Plaintiff can pay the filing fee, he must do so.

16          IT IS THEREFORE ORDERED that the Clerk of the Court must send Plaintiff the

17   approved form application to proceed in forma pauperis, as well as the document titled

18   “Information and Instructions for Filing an In Forma Pauperis Application.”

19          IT IS FURTHER ORDERED that by October 15, 2021, Plaintiff must either: (1) file a

20   complete application to proceed in forma pauperis in compliance with 28 U.S.C. § 1915(a)(1) and

21   LRS 1-1; or (2) pay the full $402 fee for a civil action, which includes the $350 filing fee and the

22   $52 administrative fee. Plaintiff is advised that failure to comply with this order will result in a

23   recommendation that this case be dismissed.

24          DATED: September 29, 2021.

25

26
                                                            Brenda Weksler
27                                                          United States Magistrate Judge
28
